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                                 UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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 10   LAURENCE CAURELIOLA MIXON,                       Case No. 5:20-CV-1539-PA (LAL)

 11                                  Petitioner,       JUDGMENT
 12                        v.

 13   JIM ROBERTSON, Warden,

 14                                     Respondent.

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 17          Pursuant to the Order Accepting Report and Recommendation of United States
 18   Magistrate Judge,
 19          IT IS ADJUDGED that the Petition is denied and this action is dismissed with prejudice.
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 21
      DATED: November 15, 2021                     ______________________________________
 22                                                PERCY ANDERSON
 23                                                UNITED STATES DISTRICT JUDGE

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